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                                       REQUEST TO FILE UNDER SEAL

                                                                               January 8, 2021

        VIA E.C.F.
        Honorable Lorna G. Schofield
        United States District Judge
        United States District Court
        Southern District of New York
        40 Foley Square
        New York, New York 10007

                 Re:      Christopher Hiram Cano v. City of New York, et al.,
                          19 Civ. 1640 (LGS)

        Your Honor:

                        I am an Assistant Corporation Counsel in the Special Federal Litigation Division
        of the New York City Law Department and the attorney representing defendants City of New
        York, New York City Health and Hospitals, New York City Department of Correction (“DOC”)
        Captains Charles and Robinson, and DOC Officers Chisolm and Santiago (collectively,
        “Defendants”) in the above-referenced matter.1 Defendants write to respectfully request that the
        Defendants be permitted to file their anticipated January 8, 2021 status letter under seal because
        it discusses matters and documents which have been explicitly protected from disclosure by the
        Court’s September 26, 2019 Stipulation of Confidentiality and Protective Order (hereinafter,
        “Protective Order”) and also concerns other private and/or confidential matters concerning
        Plaintiff. (See Dkt. No. 37 at ¶ 2(f).)

                       By way of background, Plaintiff was scheduled to be deposed by Defendants at
        the Manhattan Detention Complex on October 31, 2019. However, on October 29, 2019, the
        Defendants learned that Plaintiff was discharged from DOC custody into the custody of New
        York State. (See Dkt. Nos. 44, 45.)



        1
          Upon information and belief, DOC Officer Murray has not been served with process and, thus, is not yet
        a proper party to this action.
          Case Upon    information and belief,
                1:19-cv-01640-LGS              on November
                                        Document           8, 2019,
                                                    103 Filed        former Page
                                                                01/11/21    Assistant
                                                                                  2 ofCorporation
                                                                                       2
Counsel Samantha J. Pallini provided the Court, under seal, with an update regarding
the Plaintiff’s custody status and relevant criminal case, which are confidential pursuant to
HIPAA and the Protective Order. Pursuant to the Protective Order, “[a]ny records unsealed as a
result of Plaintiff’s properly executed authorization for the unsealing of records pursuant to
New York Criminal Procedure Law §§ 160.50 and 160.55, particularly pertaining to Bronx
Supreme Court Indictment No. 02396/2016[,]” are to be designated confidential materials and
protected from disclosure to third parties, except those persons listed in paragraph 5. (See Dkt.
No. 37 at ¶ 2(f).)

                Here, the contents of the Defendants’ anticipated January 8, 2021 status letter
concern the Plaintiff’s custody status and certain disclosure on the public docket may violate
HIPAA. In addition, the information contained in the Defendants’ anticipated status letter also
directly relates to Plaintiff’s Bronx Supreme Court Indictment No. 02396/2016, which includes
records that are not publicly available and which are protected by the Protective Order.

               Accordingly, the Defendants’ anticipated filing contains confidential information,
and the Defendants respectfully request the Court’s permission to file the Defendants’
anticipated January 8, 2021 status letter under seal.2




                 The Defendants thank the Court for its consideration.

                                                         Respectfully submitted,

                                                         ___/s/_ Nicolette Pellegrino_____
                                                         Nicolette Pellegrino
                                                         Assistant Corporation Counsel
                                                         Special Federal Litigation Division

CC:     VIA FIRST CLASS MAIL
        Christopher Hiram Cano
        George R. Vierno Center
        09-09 Hazen Street
        The Bronx, New York 11370

The application is GRANTED. The January 8, 2021, status letter at Docket No. 102 shall be filed under seal. Only
Christopher Hiram Cano, Nicolette Pellegrino, the City of New York, the New York City Health and Hospitals
Corporation, Correctional Officers Chisolm, Santiago, Murray, and Captains Robinson and Charles shall have access to
the letter at Docket No. 102. The parties shall continue to submit joint status letters every thirty days. The Clerk of
Court is respectfully directed to mail a copy of this Order to pro se Plaintiff and close the docket entry at No. 101.
SO ORDERED

Dated: January 11, 2021
       New York, New York




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